                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, New York 11201


                                                     May 18, 2022


By Hand and ECF

The Honorable Raymond J. Dearie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Luis Enrique Martinelli Linares
                      and Ricardo Alberto Martinelli Linares
                      Criminal Docket No. 21-65 (RJD)

Dear Judge Dearie:

               The government respectfully submits this letter in advance of the sentencing
hearing scheduled for May 20, 2022 for the defendants Luis Enrique Martinelli Linares (“Luis
Martinelli Linares”) and Ricardo Alberto Martinelli Linares (“Ricardo Martinelli Linares”) to
briefly respond to certain arguments made in the joint reply memorandum filed by the defendants
on May 13, 2022. (See ECF No. 60, Defendants’ Joint Reply Memorandum (“Def. Mem.”)).

                First, the defendants contend that the government unfairly understates the value of
their attempted cooperation in this case, and argue that the defendants should be credited by the
Court for providing “virtually all of the substantial evidence that incriminated them,” for
“repatriating funds that might otherwise be beyond the government’s reach” and for entering into
an “unusually detailed factual proffer” in connection with their guilty plea. (Def. Mem. 3, 4).
To the contrary, the government has stated that the defendants did provide information useful to
the government’s investigation; the core of the government’s argument is that despite providing
such information, the defendants did not engage in the cooperation process in good faith, failed
to disclose key information and ultimately sought to use their privilege, wealth and power to
thwart the investigation and avoid taking responsibility for their actions in the United States.
Moreover, as detailed in the government’s sentencing submission, the government’s
investigation yielded substantial independent evidence of the defendants’ guilt (see ECF No. 56
at 4, ECF No. 57 at 4), and by the defendants’ own admission, their efforts to repay their ill-
gotten criminal proceeds by assisting the government in locating and obtaining assets—many of
which they themselves moved into offshore accounts in furtherance of the scheme—did not
begin until after they were arrested following their flight from the United States, and did not
result in any repatriation until recently. Finally, the defendants made “unusually detailed factual
and elsewhere. (Def. Mem. 1). As an initial matter, the Court is bound to make a determination
of the proper sentences for the defendants based on an individualized determination of the
specific facts and circumstances of this case and these defendants. Moreover, even the cases
cited by the defendants do not suggest that a Guidelines sentence here, where the defendants pled
guilty to conspiracy to commit money laundering for receiving, concealing and benefiting from
$28 million in criminal proceeds and for which no significant mitigating factors exist, is
inappropriate. For example, the defendants cite as a comparable case United States v. Inniss, 18-
CR-134 (E.D.N.Y.) (KAM), in which Judge Matsumoto sentenced the defendant, a public
official in Barbados, to 24 months’ incarceration. (Def. Mem. 8). But Inniss accepted only two
bribes in an approximately one-year period that totaled $36,000, which by any measure is
conduct on a completely different scale than the criminal conduct that the defendants engaged in
here. The defendants also note but do not discuss the case of United States v. Napout, 15-CR-
252 (E.D.N.Y.) (PKC), who was convicted of money laundering and wire fraud in connection
with the FIFA scheme and was ultimately sentenced by Judge Chen to 108 months’
imprisonment. Napout’s conduct is far more analogous to that of the defendants, as he was held
responsible for a long-running bribery scheme during which he was promised a total bribe
amount of $25 million, though he only actually received approximately $3.3 million.

               The government will be prepared to respond to other arguments from the
defendants’ reply at the sentencing hearing, and, for the reasons set forth in its initial
submissions, maintains that significant Guidelines sentences of incarceration are sufficient, but
not greater than necessary, to achieve the goals of sentencing here. See U.S.S.G. § 3553(a)(2).

                                                     Respectfully Submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:            /s/
                                                     Alixandra Smith
                                                     Assistant U.S. Attorney
                                                     (718) 254-6370


DEBORAH L. CONNOR                                    JOSEPH BEEMSTERBOER
Chief, Money Laundering and Asset                    Acting Chief, Fraud Section
Recovery Section, Criminal Division                  Criminal Division
U.S. Department of Justice                           U.S. Department of Justice

s/                                                   s/
Michael Redmann                                      Michael Culhane Harper
Trial Attorney                                       Trial Attorney


cc:    Clerk of Court (RJD) (by ECF)
       Defense counsel (by ECF)

                                                 3
